       Case 1:19-cv-03482-SAG Document 1-1 Filed 12/05/19 Page 1 of 19

                                      Joseph B. Wolf, Esa.          p (410) 522-1020
 Z     LUCHANSKY
     ~ M I L L MAN
                                      606 Bosley Avenue, Suite 38   F (410) 522-1021
                                      Towson, MD 21204              E joseph@luchanskylaw.com




                                 November 5, 2019



Tyrone Washington,
Vice President of Human Resources
FGO Logistics, LLC.
630 Mola Boulevard, Suite 2A
Elmwood Park, New Jersey 07407



                         RE:    Hosmer v. FGO Deliveries, LLC.
                                Case No.: C-03-CV-19-003503

Dear Mr. Washington:

      Please see the attached lawsuit filed by Abigail Hosmer in the Circuit Court
for Baltimore County, Maryland.

      Please pass it along to the company's counsel.




          WWW. LUCHANSKVLAW.COM
                Case 1:19-cv-03482-SAG Document 1-1 Filed 12/05/19 Page 2 of 19

                    CIRCUIT COURT FOR BALTIMORE COUNTY,                                   Main: 410-887-2601
                                                                                          Fax:410-887-3234
                    MARYLAND



 •                  401 Bosley Avenue, P.O. Box 6754
                    Towson, MD 21285-6754


             To: FGO DELIVERIES LLC
                    DBA FGO LOGISTICS
                    630 MOLA BOULEYARD
                    ELMWOOD PARK, NJ 07407

                                                                    Case Number:                             C-03-CV-19-003503
                                                       Other Reference Number(s):

 ABIGAIL HOSMER VS. FGO DELIVERIES LLC
                                                                                                            Issue Date: 9/24/2019
                                                  WRIT OF SUMMONS

      You are hereby summoned to file a written response by pleading or motion, within 60 days after service of this
summons upon you, in this Court, to the attached complaint filed by:

         ABIGAIL HOSMER
         3815 Dunsmuir Circle
         Middle River, MD 21220

         This summons is effective for service only if served within 60 days after the date it is issued.


                                                         ~et·~rL
                                                        Julie L. Ensor
                                                        Clerk of the Circuit Court


To the person summoned:
    Failure to file a response within the time allowed may result in a judgment by default or the granting of the relief
    sought against you.
    Personal attendance in court on the day named is NOT required.

Instructions for Service:

    1. This summons is effective for service only if served within 60 days after the date issued.
    2. Proof of Service shall set out the name of the person served, date and the particular place and manner of service.
       If service is not made, please state the reasons.
    3. Return of served or unserved process shall be made promptly and in accordance with Maryland Rule 2-126.
    4. If this notice is served by private process, process server shall file a separate affidavit as required by Maryland
       Rule 2-126(a).




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                 Case 1:19-cv-03482-SAG Document 1-1 Filed 12/05/19 Page 3 of 19
 Abigail Hosmer vs. FGO Deliveries LLC                                                   Case Number: C-03-CV-19-003503

                                                   SHERIFF'S RETURN
                                             Circuit Court for Baltimore County


 Sheriff fee:                                     By:

 Served:

 Time:                             Date:

 With the following:

                  0 Summons                                  0 Counter Complaint
                  0 Complaint                                0 Domestic Case Information Report
                  0Motions                                   0 Financial Statement
                  0 Petition and Show Cause Order            0 Other
                                                                                                Please specifY



Was unable to serve because:

                  0 Moved left no forwarding address         0 No such address
                  0 Address not in jurisdiction              0   Other
                                                                                                Please specifY




Sheriff fee: $
                                                                                 Serving Sheriffs Signature & Date




Instructions to Private Process Server:

    I. This Summons is effective for service only if served within 60 days after the date issued.
    2. Proof of Service shall set out the name of the person served, date and the particular place and manner of service.
       If service is not made, please state the reasons.
    3. Return of served or unserved process shall be made promptly and in accordance with Rule 2-126.
    4. If this summons is served by private process, process server shall file a separate affidavit as required by Rule 2-
       126(a).




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      Case 1:19-cv-03482-SAG Document 1-1 Filed 12/05/19 Page 4 of 19
                                                                            E-FILED; Baltimore County Circuit Court
                                                         Docket: 9/20/201911:07 AM; Submission: 9/20/201911:07 AM


                                                                                             C-03-CV-1 9-003503
 IN THE CIRCUIT COURT FOR_Ba~~imore County
                                                             -----~ity   or County)
                  CIVIL- NON-DOMESTIC CASE INFORMATION REPORT
                                             DIRECTIONS
    Plaintiff: This Information Report must be completed and attached to the complaint filed with the
 Clerk of Court unless your case is exempted from the requirement by the Chief Judge of the Court of
 Appeals pursuant to Rule 2-111 (a).
   Defendant: You must file an Information Report as required by Rule 2-323(h).
                  THIS INFORMATION REPORT CANNOT BE ACCEPTED AS A PLEADING
 FORM FD...ED BY: 11JPLAINTIFF CJDEFENDANT                  CASE NUMBER
                                                                                          lCteil<   to mseg
 CASE NAME: Abigail !:losmer                        vs. FGO Deliveries llC d/b/a FG Logistic
                           Plamtlfl                     ------nerendant              --·
 PARTY'S NAME:_~bigail Hosmer                                         PHONE:
                                                   --·---------------       --···---------
 PARTY'S ADDRESS: 3815 Dunsmuir ~ircle,. Middle River, Maryland 21220                 -------
 PARTY'S E-MAIL:
 If represented by an attorney:
 PARTY'S ATTORNEY'S NAME: Bru~~ Luchansky, Joseph Wolf         PHONE: 410.522.1020
                                                                                    --
 PARTY'S ATTORNEY'S ADDRESS:606 Bosley Avenue, Suite 38, Towson, MD 21204
 PARTY'S ATTORNEY'S E-MAIL:_Iucky@luchanskylaw.com; joseph@luchanskylaw.com
                                                                                 ------
 JURY DEMAND? ~Yes ONo
 RELATED CASE PENDING? DYes lliNo If yes, Case #(s), if known·
 ANTICIPATED LENGTH OF TRIAL?:         hours _3_days
                                                PLEADING TYPE
New Case:          lllloriginal           D Administrative Appeal 0 Appeal
Existing Case: DPost-Judgment             DAmendment
lf !lline in an existine case, skip Case Category/ SubcategQI)' section - go to Relief section.
                IF NEW CASE: CASE CATEGORY/SUBCATEGORY (Check one box.)
TORTS                         CJ Government               PUBLIC LAW                  CJ Constructive Trust
B  Asbestos
CJ Assault and Battery
                              81nsurance
                                  Product Liability
                                                          CJ Attorney Grievance       0 Contempt
                                                          DBond Forfeiture Remission 0 Deposition Notice
 O ~~~~¢~ca;d Commercial CJPROPERTY                .      0 Civil Rights              CJ Dist Ct Mtn Appeal
 D Conversion                     Adverse Possesston      0 County/Mncpl Code/Ord D Financial
 0 Defamation                 8 Bre!JCh of Lease          0 Election Law               D Grand Jury/Petit Jury
0                    ·            Detinue                 ~minent Domain/Condemn. CJ Miscellaneous
    False Arrest/Impnsonment 0 Distress/Distrain          D Environment               D Perpetuate Testimony/Evidence
0 Fraud                       0 Ejectment                 CJ                          0
0 Lead Paint_ DOB of          CJ Forcible Entry/Detainer     Error Coram Nobis            Prod. of Documents Req.
    Youngest Pit: _ _ _ _ 0 Foreclosure                   0 Habeas Corpus             CJ Receivership
0 Loss of Consortium              0 Commercial            0 Mandamus                  CJ Sentence Transfer
0 Malicious Prosecution           0 Residential           0 Prisoner Rights           CJD Set J\side Deed
                                                                 . I fi A R      d        Spectal Adm. - Atty
0 Malpractice-Medical             0 Currency or Vehicle 0 Pu bl IC ~ o. ct . ecor s 0 Subpoena Issue/Quash
0 Malpractice-Professional        0 Deed of Trust        0 Quarantmellsolatton        D Trust Established
0 Misrepresentation               0 Land Installments    D Writ of Certiorari         0 Trustee Substitution/Removal
0 Motor Tort                      0 Lien                 EMPLOYMENT                   0 Witness Appearance-Compel
0 Ne~Iigence                      0 Mortgage                                          PEACE ORDER
D Nuisance                        DR.ight of Redemption 0 ADA                         0 Peace Order
0 Premises Liability              0 Statement Condo      0 Conspiracy                 EQUITY
D Product Liability          CJ Forfeiture of Property I llJ EEOIHR                   CJ Declaratory Jud1ment
D Specific Performance            Personal Item          0 FLSA
                             0 Fraudulent Conveyance CJ FMLA
B  Toxic Tort
   Trespass                  0 Landlord-Tenant
                                                                                      D Equitable Relie
                                                         CJ Workers' Compensation CJ Injunctive Relief
0 Wrongful Death             0 Lis Pendens               0 Wrongful Termination       0 Mandamus
CONTRACT                     0 Mechanic's Lien                                        OTHER
0 Asbestos                   CJ Ownership                INDEPENDENT                  0 Accounting
0 Breach                     CJ P~tiotYSale in Lieu      PROCEEDINGS                  0 Friendly Suit
0 Business IJ.Ild Commercial CJCJ Qu1et Title            0 Assumption of Jurisdiction 0 Grantor in Possession
0 Confessed Juagment              Rent Escrow            CJ A h · d Sal               CJ           d           d · ·  ·
   (Cont'd)                  D Return of Seized Property · ut onze        ~              M~lan Insurance A mtmstratton
0 c tru ti                   CJ Right of Redemption      0 Attorney Appomtment        CJ Miscellaneous
0 D~b: c on                  CJ Tenant Holding Over      0 Body Attachment Issuance CJ Specific Transaction
0 Fraud                                                  0 Commission Issuance        D Structured Settlements

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                  IF NEW OR EXISTING CASE: RELIEF (Check All that Apply)
 0   Abatement               0 Earnings Withholding ilJJudgment-Interest     0 Return of Property
 0   Administrative Action   0 Enrollment            0 Judgment-Summary      0 Sale of Property
 0   Appointment of Receiver 0 Expungement           DLiability              0 Specific Performance
 0   Arbitration             0 Findings of Fact      LlOral Examination      D Writ-Error Coram Nobis
 0   Asset Determination     0 Foreclosure           Llorder                 0 Writ-Execution
 0   Attachment b/f Judgment Ll Injunction           Downership of Property 0 Writ-Garnish Property
 0   Cease & Desist Order    0 Judgment-Affidavit    0 Partition of Property 0 Writ-Garnish Wages
 0   Condemn Bldg            llJJudgment-Attomey FeesOPeace Order            D Writ-Habeas Corpus
 0
 °   Contempt
     Court Costs/Fees
                             0 Judgment-Confessed
                             Ll Judgment-Consent
                                                     LJ Possession
                                                     LlProduction of Records
                                                                               W~t-Mand~us
                                                                               Wnt-Possesston
                                                                                              B
 Ill Damages-Compensatory 0 Judgment-Declaratory 0 Quarantine/Isolation Order
 Ill Damages-Punitive        OJudgment-Default       0Reinstatement of Employment

 Ifyou indicated Liability above, mark one of the following.
                                                          This information is not an admission and
 may not be used for any purpose other than Track Assignment.
 LlLiability is conceded. DLiability is not conceded, but is not seriously in dispute. OLiability is seriously in dispute.

         MONETARY DAMAGES (Do not include Attorney's Fees, Interest, or Court Costs)

   0 Under $10,000           0$10,000- $30,000             0 $30,000-$100,000              ~Over $100,000

   0 Medical Bills $                      OWageLoss$                            0 Property Damages $
                       ALTERNATIVE DISPUTE RESOLUTION INFORMATION

 Is this case appropriate for referral to an ADR process under Md. Rule 17-101? (Check all that apply)
 A. Mediation        DYes IJJNo                              C. Settlement Conference ilJYes LJNo
 B. Arbitration      DYes I:XINo                             D. Neutral Evaluation      DYes Ill No

                                          SPECIAL REQUIREMENTS
 0 If a Spoken Language Interpreter is needed, cheek here and attach form CC-DC-041
0 If you require an accommodation for a disability under the Americans with Disabilities Act, check
   here and attach form CC-DC-049
                                  ESTIMATED LENGTH OF TRIAL
With the exception of Baltimore County and Baltimore City, please fill in the estimated LENGTH OF
TRIAL.                             (Case will be tracked accordingly)
                 0 112 day of trial or less              0 3 days of trial time
                    0 1 day of trial time                        D More than 3 days of trial time
                   0 2 days of trial time

                BUSINESS AND TECHNOLOGY CASE MANAGEMENT PROGRAM
For all jurisdictions, ifBusiness and Technology track designation under Md. Rule 16-308 is requested,
                  attach a duplicate copy ofcomplaint and check one of the tracks below.

             0 Expedited- Trial within 7 months of                0 Standard - Trial within 18 months of
                     Defendant's response                                  Defendant's response

                                     EMERGENCY RELIEF REQUESTED


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                      COMPLEX SCIENCE AND/OR TECHNOLOGICAL CASE
                            MANAGEMENT PROGRAM (ASTAR)

      FOR PURPOSES OF POSSIBLE SPECIAL ASSIGNMENT TO ASTAR RESOURCES JUDGES under
  Md Rule I 6-302, attach a duplicate copy ofcomplaint and check whether assignment to an ASTAR is requested

              0 Expedited - Trial within 7 months of             0 Standard - Trial within 18 months of
                       Defendant's response                               Defendant's response
 IF YOU ARE FILING YOUR COMPLAINT IN BALTIMORE CITY, OR BALTIMORE COUNTY,
 PLEASE FILL OUT THE APPROPRIATE BOX BELOW.
             CIRCUIT COURT FOR BALTIMORE CITY (CHECK ONLY ONE)

 0      Expedited                    Trial60 to 120 days from notice. Non-jury matters.
 0      Civil-Short                  Trial210 days from first answer.
 0      Civil-Standard               Trial 360 days from first answer.
 0      Custom                       Scheduling order entered by individual judge.
 0      Asbestos                     Special scheduling order.
 0      Lead Paint                   Fill in: Birth Date of youngest plaintiff
 D      Tax Sale Foreclosures        Special scheduling order.
 0      Mortgage Foreclosures        No scheduling order.

                            CIRCUIT COURT FOR BALTIMORE COUNTY

 0         Expedited            Attachment Before Judgment, Declaratory Judgment (Simple),
     (Trial Date-90 days)       Administrative Appeals, District Court Appeals and Jury Trial Prayers,
                                Guardianship, Injunction, Mandamus.

 lXI     Standard               Condemnation, Confessed Judgments (Vacated), Contract, Employment
  (Trial Date-240 days)         Related Cases, Fraud and Misrepresentation, International Tort, Motor Tort,
                                Other Personal Injury, Workers' Compensation Cases.

 0  Extended Standard           Asbestos, Lender Liability, ·Professional Malpractice, Serious Motor Tort or
  (Trial Date-345 days)         Personal Injury Cases (medical expenses and wage loss of$100,000, expert
                                and out-of-state wi~nesses (parties), and trial of five or more days), State
                                Insolvency.

·o       Complex                Class Actions, Designated Toxic Tort, Major Construction Contracts, Major
  (Trial Date-450 days)         Product Liabilities, Other Complex Cases"/1                                    V
                    9/20/19
------------,...D""at<=e  ___________ _
          606 Bosley Avenue, Suite 3B
                      Address
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                                                                                 Joseph w,.,.._o_If__
Towson                          MD        21204                              - Priiit.dNome       ~
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                                                                              E-FILED; Baltimore County Circuit Court
                                                          Docket: 9/23/2019 12:18 PM; Submission: 9/23/2019 12:18 PM




                      IN THE CIRCUIT COURT FOR BALTIMORE COUNTY

  ABIGAIL HOSMER                                       *
  3815 Dunsmuir Circle
  Middle River, Maryland 21220                         *
                                                                   Civil Action No.        C-03-CV-19-003503
             Plaintiff,                                *
  V.                                                   *
  FGO DELIVERIES LLC                                   *
  DIBIA FGO LOGISTICS
  630 Boulevard                                       *
  Elmwood Park, N.J. 07407
                                                      *
            Defendant.

  *     *         *       *    *     *      *     *   *       *     *     *     *      *      *    *
                                   COMPLAINT AND JURY DEMAND

        Plaintiff, Abigail Hosmer, by and through counsel, Bruce M. Luchansky, Joseph B. Wolf,

and LUCHANSKY MILLMAN, files this Complaint and Jury Demand against Defendant FGO

Deliveries LLC d/b/a FGO Logistics ("Defendant or FGO").

                                                INTRODUCTION

        1.         This lawsuit arises out of Defendant's willful and unlawful conduct in failing to

explore all possible means of providing a reasonable accommodation for Plaintiff due to her

disability caused by childbirth despite Plaintiff's request that Defendant do so, and instead

terminating her employment, in violation of the Maryland Pregnancy Accommodation Law, Md.

State Govt. Code Ann., § 20-609 et. seq.

       2.         Additionally, Defendant failed to pay Plaintiff an overtime wage of at least 1.5

times her usual hourly wage in violation of Md. Code Ann., Lab & Empl., § 3-40 I, et seq. and §3-

501, et seq. and Fair Labor Standards Act (FLSA) 29 U.S.C. §§ 201-19.

       3.         Plaintiff demands a jury on all issues triable to a jury.
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                                      JURISDICTION AND VENUE

             4.    This Court has subject matter jurisdiction over the claims presented herein

  pursuant to Md. Code Ann., Cts. & Jud. Proc. § 1-50 I and Md. Code Ann., Lab & Empl., § 3-

  427, and §3-507.2.

         5.        This Court has personal jurisdiction over Defendant pursuant to Md. Code Ann.,

 Cts. & Jud. Proc., §6-1 03 (b) and ancillary jurisdiction over federal law cause of action.

        6.         Venue is appropriate in Baltimore County pursuant to Md. Code Ann., Cts. & Jud.

 Proc., § 6-201(a) because Defendant regularly conducts business in Baltimore County.

                                               PARTIES

A.      Plaintiff

        7.        Abigail Hosmer is a resident of Baltimore County, Maryland and, at all times

relevant hereto, was an employee of Defendant.

B.      Defendant

        8.         Defendant is a limited liability company that maintains its principal place of

business in Elmwood Park, New Jersey. FGO regularly conducts business throughout the State of

Maryland, including at 670 Chesapeake Park Plaza, Middle River, Maryland in Baltimore County.

        9.        Defendant meets the definition of "Enterprise Engaged in Commerce" under 29

U.S.C. § 203 (s)(l), as it has either employees engaged in commerce or the production of goods

for commerce or employees handling, selling, or otherwise working on good or materials that have

been moved in or produced for commerce; and (2) it has gross volume of sales made or business

done of not less than $500,000.

       10.        FGO was Plaintiffs employer, as defined by Md. State Govt. Code Ann., § 20-

601(d)(l), 29 U.S.C. § 203(d), Md. Ann. Code Lad. & Empl. §§3-40l(c), and 3-501(b).



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         11.        FGO is an employer that is subject to the terms of Md. State Govt. Code Ann., §

 20-609, et. seq.

         12.    Whenever in this Complaint it is alleged that Defendant committed any act or

 omission, it is meant that Defendants' officers, directors, vice-principals, agents, servants, regional

 managers, or employees committed such act or omission and that at the time such act or omission

 was committed, it was done with the full authorization, ratification or approval Defendant or was

done in the routine and normal course and scope of employment of Defendant's officers, directors,

vice-principals, agents, servants, regional managers or employees.

                                                FACTS

        13.     On April4, 2018, Plaintiff interviewed for a dispatcher position with FGO and told

Toney Torres, and Zever Sipley, regional managers at FGO during her interview about her

pregnancy including her due date which was September 15, 2018.

        14.     Torres and Sipley told the Plaintiff that her pregnancy would not affect employment

withFGO.

        15.     Plaintiff was hired by FGO for a40-hours -per-week dispatcher position and began

work on April 10, 2018.

        16.    Plaintiffs work performance for the company was satisfactory.

        17.    During her employment with Defendant, Plaintiff was paid an hourly wage.

        18.    Although Plaintiff was entitled to take a daily lunch break, her duties often required

that she work through lunch without taking a break.

       19.     During multiple workweeks in the course of her employment with FGO, Plaintiff

worked more than 40 hours.




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         20.     Defendant did not pay the Plaintiff an overtime wage of at least 1.5 times her usual

 hourly wage for the hours she worked above 40 hours per workweek.

        21.     On August 30, 2018, with her due date approaching, Plaintiff emailed FGO's HR

 department seeking confirmation that she would be granted leave as a reasonable accommodation

 for the birth of her baby. Plaintiff inquired as to what, if anything, the company expected of her

 before she went out on maternity leave and asked for confirmation that she would be able to return

 to her position with FGO after her six-week leave period ended.

        22.     Also on August 30, 2018, Tyrone Washington, Vice President of Human Resources

at FGO, responded by email stating that Plaintiff was not entitled to any accommodation under the

Family and Medical leave Act or the Maryland Parental Leave Act, that Defendant intended to fill

Plaintiff's position while she was out following the birth of her baby, and that she could reapply

for any open position with the company once she was ready to return to work.

        23.     On August 31, 2018, Plaintiff replied to Mr. Washington and requested

confirmation and documentation that she was being terminated for taking recommended medical

leave for the birth of her child. Plaintiff did not receive a response.

       24.     Later in the day on August 31, 2018, Plaintiff sent another follow-up email to Mr.

Washington regarding any procedures she needed to follow before her maternity leave and again

requesting confirmation as to whether she would have a job when her leave ended. Plaintiff

received no response.

       25.      On September 1, 2018, Plaintiff sent a third email to Mr. Washington requesting

clarification as to her job status if she went on recommended medical leave.




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         26.       On September 2, 2018, Washington responded that Plaintiff would be terminated if

 she did not report to work because she was giving birth to her baby, stating, "yes you will be

 released based upon you not being present at work."

         27.       On September 12, 2018, Plaintiff informed FGO that she gave birth to a child and

 would need six weeks of maternity leave.

         28.       On September 29, 2018, Plaintiff requested via email from Mr. Washington

 documentation as to the reason for her termination despite the fact that she had medical

 documentation excusing her from work during her maternity leave.

         29.      On October 8, 2108, Mr. Washington responded via email attaching a termination

 letter from Mr. Vernon dated September 21,2018, that her employment was terminated effective

September 19, 2108 as a result of her "voluntary resignation in regard to a non-work-related

disability."


                                        COUNT I
                      MARYLAND PREGNANCY ACCOMODATION LAW
                            Md. State Govt. Code Ann., § 20-609

        30.       Plaintiff hereby incorporates all allegations set forth in the foregoing paragraphs as

though fully alleged herein.

        31.       Plaintiff was Defendant's "employee" pursuant to Md. State Govt. Code Ann., §

20-601 (c)(l ).

        32.       Defendant was Plaintiff's "employer" pursuant to Md. State Govt. Code Ann.,§

20-601(d)(l).

        33.       Plaintiff requested a reasonable accommodation from Defendant by requesting that

she be permitted to take six weeks of medically recommended maternity leave to deliver, and to

recover from the birth of, her child.


                                                   5
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         34.     As Plaintiffs "employer," Defendant was obligated to explore all possible means

 of providing a reasonable accommodation with the Plaintiff due to her disability caused by

 childbirth pursuant to Md. State Govt. Code Ann.,§ 20-609(d).

         35.     Despite Plaintiffs request for a reasonable accommodation, Defendant failed to

 explore all possible means of providing a reasonable accommodation to the Plaintiff due to her

 disability caused by childbirth, including, but not limited to, providing leave.

        36.     Instead, Defendant terminated Plaintiff's employment for not returning to her job

 immediately following childbirth without any attempt to explore accommodating her, including

but not limited to providing Plaintiff with maternity leave.

        37.     As a result of Defendant's unlawful conduct, Plaintiff has suffered and will

continue to suffer lost wages, both in the past and in the future, as well as emotional pain, mental

anguish, physical suffering, inconvenience, loss of enjoyment of life.


                                     COUNT II
                   MARYLAND PREGNANCY ACCOMODATION LAW
                        Md. State Govt. Code Ann., § 20-609(h)

        38.     Plaintiff hereby incorporates all allegations set forth in the foregoing paragraphs as

though fully alleged herein.

        39.     Plaintiff was Defendant's "employee" pursuant to Md. State Govt. Code Ann., §

20-601(c)(l).

       40.      Defendant were Plaintiff's "employer" pursuant to Md. State Govt. Code Ann., §

20-601(d)(l).

       41.      Pursuant to pursuant to Md. State Govt. Code Ann., § 20-609(h), Defendant, as

Plaintiff's "employer," was not permitted to "interfere with, restrain, or deny the exercise of, or




                                                  6
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 the attempt to exercise"    Plaintiff'~   right of reasonable accommodation due to an employee's

 disability caused by childbirth.

         42.      Defendant interfered with, restrained, and/or denied the exercise of, or the attempt

 to exercise of Plaintiff's right of reasonable accommodation due to her disability caused by

 childbirth.

         43.      Instead, Defendant terminated Plaintiff for not reporting to work because she was

giving birth and for not returning to her job immediately following childbirth without engaging in

any interactive process to explore providing Plaintiff with a reasonable accommodation, including

leave.

         44.    As a result of Defendant's unlawful conduct, Plaintiff has suffered and will

continue to suffer lost wages, both in the past and in the future, as well as emotional pain, mental

anguish, physical suffering, inconvenience, loss of enjoyment of life.

                                      PRAYER FOR RELIEF

         45.   Plaintiff demands that judgment on the forgoing claims be entered in her favor

against Defendant, and prays for the following relief from Defendant:

               a.       A money judgment for actual damages for the period of time provided by

law, including appropriate back-pay and reimbursement for any lost benefits;

               b.       Reinstatement or front-pay in lieu of reinstatement;

               c.       A money judgment for compensatory damages and punitive damages as

allowed by law;

               d.       Attorneys' fees;

               e.       Pre-judgment and post-judgment interest as allowed by law;




                                                   7
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                f.      Costs of court and costs of prosecuting Plaintiffs claim, including expert

 witness fees; and

                g.      Such other and further relief to which Plaintiff may be justly entitled.


                                             COUNT III
                               Maryland Wage and Hour Law
                          Md. Code Ann., Lab & Empl., § 3-401, et seq.
                               (Failure to pay overtime wages)

        46.     Plaintiff hereby incorporates all allegations set forth in the foregoing paragraphs

 as though fully alleged herein.

        47.     Defendant did not compensate Plaintiff her overtime hourly rate for each hour

worked in excess of 40 during a single workweek.

        48.     Defendant's failure to pay Plaintiff appropriate wages for overtime hours worked

violated the MWHL.

        49.     Plaintiff was entitled to be compensated for all hours worked, at a rate no less

than minimum wage, and to be compensated at 1.5 times Plaintiffs regular hourly wage for each

hour worked over 40 in a single workweek.

        50.    Defendant's failure to compensate Plaintiff at minimum wage and/or at 1.5 times

her regular hourly wage for each hour in excess of 40 hours per workweek violated the MWHL.


       51.     As the direct and proximate result of Defendant's violations of the MWHL,

Plaintiff suffered significant damages.

       52.     Pursuant to the MWHL, Defendant is liable to Plaintiff for all hours worked

which were not properly compensated and for the difference between the wages paid and the

wages required by statute, plus reasonable attorneys' fees, pre- and post- judgment interest, fees

and costs.


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                                      •


                                      PRAYER FOR RELIEF

         53 .    Plaintiff respectfully requests that this Court enter a judgment awarding Plaintiff:

                      a.      Unpaid wages due under the MWHL;

                      b.     Prejudgment interest;

                      c.     Reasonable attorneys' fees and costs incurred in pursuing this action;
                             and

                      d.     Such other and further relief as this Court deems necessary and
                             proper.


                                           COUNT IV
                           Maryland Wage Payment and Collection Law
                           Md. Code Ann., Lab & Empl., § 3-501, et seq.
                (Failure to pay earned wages following conclusion of employment)

        54.      Plaintiff hereby incorporates all allegations set forth in the foregoing paragraphs

as though fully alleged herein.


        55.     Pursuant to the MWPCL, Defendant must pay its employees all wages due at

regular pay periods. "Wage" is defined as "all compensation that is due to an employee for

employment." This definition specifically includes overtime wages. Md. Code Ann., Lab &

Empl., § 3-501(c)(2)(iv).


       56.      Pursuant to MWPCL, Defendant is obligated to pay its employees all wages

due for work that the employee performed before the conclusion of employment on, or

before, the day on which the employee would have been paid had their employment not been

terminated.

       57.      Pursuant to MWPCL, Defendant is obligated to provide its employees with pay

statements each pay period. Defendant failed to regularly provide Plaintiff with pay statements

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each pay period.

        58.     Plaintiffhas not been compensated at the proper overtime premium rate for hours

worked in excess of forty (40) in single workweek.

        59.     By failing to timely pay Plaintiff her wages when due, Defendant violated the

MWPCL.

        60.     Defendant's violations of the MWPCL were not as a result of a bonafide dispute.

        61.     As the direct and proximate result of Defendants' violations of the MWPCL,

Plaintiff suffered significant damages.

        62.     Because more than two weeks have elapsed from the date on which Defendants

were required to have paid the wages, Defendants are liable to Plaintiff for her unpaid wages,

plus an additional amount up to three (3) times the unpaid wages, reasonable attorneys' fees,

interests and costs.

                                      PRAYER FOR RELIEF

        63.    Plaintiff respectfully requests that this Court enter a judgment awarding Plaintiff:

                       a.   Unpaid wages due under the MWPCL;

                       b.   Treble damages multiplied times the unpaid wages due and owing;

                       c.   Prejudgment interest;

                       d.   Reasonable attorneys' fees and costs incurred in pursuing this action;
                            and

                            Such other and further relief as this Court deems necessary and
                            proper.


                                            COUNTV
                   Fair Labor Standards Act of 1938 29 U.S.C. § 201, et seq.
                               (Failure to pay overtime wages)

       64.     Plaintiffhereby incorporates all allegations set forth in the foregoing paragraphs


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as though fully alleged herein.


        65.     Defendant willfully and/or intentionally failed to pay Plaintiff overtime wages

which Plaintiff was due and owed pursuant to the FLSA.


        66.     Defendant's actions were taken with willful disregard for the rights of Plaintiff

under the FLSA.

        67.     As a result of Defendant's unlawful conduct, Plaintiff suffered a loss of wages.

        68.     For violating the FLSA, Plaintiff is entitled to recover from Defendant-in

addition to the money judgment awarded for unpaid regular and overtime compensation-an

additional equal amount as liquidated damages and interest on the monies due and owing.

        69.     The FLSA further provides that Plaintiff shall be awarded reasonable attorneys'

fees and the costs of this action.

                                     PRAYER FOR RELIEF

       70.      Plaintiff respectfully requests that this Court enter a judgment awarding Plaintiff:

                     a.     Unpaid wages due under the FLSA;

                     b.     Liquidated damages multiplied times the unpaid wages due and
                            owing;

                    c.      Prejudgment interest;

                    d.      Reasonable attorneys' fees and costs incurred in pursuing this action;
                            and

                    e.      Such other and further relief as this Court deems necessary and
                            proper.




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Dated: September 20, 2019



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                                          JURY DEMAND

      Plaintiff demands a trial by jury on all issues triable to a jury.


Dated: September 20,2019




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